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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CHROMADEX, INC. and TRUSTEES

OF DARTMOUTH COLLEGE,

REDACTED PUBLIC VERSION
Plaintiffs, .

C.A. No. 18-1434-CFC

ELYSIUM HEALTH, INC.,

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)
)
)
)
V. )
)
)
)
Defendant. )
)
ELYSIUM’S OPENING BRIEF IN SUPPORT OF ITS

MOTION FOR SUMMARY JUDGMENT (NO 2.) OF
NON-INFRINGEMENT OF CLAIM 2 OF EACH ASSERTED PATENT

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Dated: April 27, 2021

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I. Summary of Argument

The Court should enter summary judgment of noninfringement of each
patent’s claim 2.! There is no material factual dispute about the steps used to
manufacture the nicotinamide riboside (““NR”’) ingredient in the accused product,
Basis®. Whether those steps cause Basis to infringe claim 2 of each asserted
patent turns on claim construction—a legal issue which must be (and already has
been) decided by the Court, not the jury. Under this Court’s Markman Order,
claim 2 of each asserted claim requires that “the nicotinamide riboside is isolated
from a natural source or synthetic source and is not chemically synthesized.” (D.1.
152, at 2 (emphasis added).) Basis does not infringe claim 2 of either asserted
patent because the NR in Basis is chemically synthesized.

II. Background”

The two asserted patents claim compositions comprising NR. Plaintiffs
allege that Elysium’s Basis infringes claim 2 of the ’086 patent and claims 1-3 of
the ’807 patent. Basis is a dietary supplement with two active ingredients: NR and

pterostilbene.

' Claim 2 is the only claim asserted in the ’086 patent; the PTAB determined in
2019 that all other claims of the ’086 patent are invalid as anticipated by prior art.

* For the facts material to this motion, see the accompanying Second Statement of
Facts (“SF2”). Citations to exhibits (““Ex.”) refer to the exhibits attached thereto.

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SF2-02; SF2-01.

Claim 2 of the ’086 patent and claim 2 of the ’807 patent both depend from
claim 1 of their respective patents. Each adds the further limitation “wherein the
nicotinamide riboside is isolated from a natural or synthetic source.” In its Claim
Construction Order, the Court rejected Plaintiffs’ attempt to expand claim 2 to
encompass chemically-synthesized NR, construing the limitation to mean “the
nicotinamide riboside is isolated from a natural source or synthetic source and is
not chemically synthesized.” D.1. 152 at 2 (emphasis added). At the Markman
hearing, this Court twice commented that Plaintiffs’ contrary position “borders on
frivolous.” Ex. C at 33:22, 50:18.

The specification differentiates isolation of NR from a natural or synthetic
source from NR “chemically synthesized using established methods.” Ex. A at
28:58-63. It cites a paper by Tanimori as exemplifying

“chemical synthesis.” SF2-03. Scheme 1 of Tain! (iii i

employs a three-step process to chemically synthesize NR:

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(1) formation of NR triacetate (NRA);

(2) replacement of the acetate groups in NRA with hydrogen atoms
to form NR; and

(3) removal of impurities to obtain the synthesized NR product.

SF2-05. Plaintiffs’ chemistry expert admitted in his report that “[t]he syntheses
described in Tanimori... include sequences of chemical reactions and purification
steps....” Ex. I at 739. Plaintiffs’ chemistry expert agreed that Tanimori discloses
chemical synthesis of NR, and that the chemically-synthesized NR of Tanimori is
the result Tanimori obtains after step 3, i.e. after Tanimori has conducted
purifications by using chromatography on activated charcoal and by crystallization.
SF2-04; SF2-06. Plaintiffs’ chemistry expert does “not dispute that chemical
reactions are often followed by purification steps.” Ex. I at951. He agreed that a
molecule is still chemically synthesized if “isolated directly from the chemical
synthesis.” Ex. E at 142.

In its Markman ruling, the Court explained that a person of ordinary skill in
the art would interpret the specification of the asserted patents as providing “that
NR can be obtained in three different ways—from a natural source, from a
synthetic source, or from chemical synthesis described in the articles like Tanimori
and Franchetti.” Ex. C at 48:7-11. The Court continued:

The written description also explains how an artisan of ordinary skill

would obtain NR that is not chemically synthesized. Specifically, it
explains that, and I quote, “synthetic sources of nicotinamide riboside

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can include any library of chemicals commercially available from
most large chemical companies.”

Id. at 48:11-18. As Dartmouth explained in its IPR submissions, claim 1 covers all
three sources, including chemical synthesis, but claim 2 is narrower and excludes
chemically-synthesized NR. Ex. J at 13-14. The Court held that Dartmouth
“disavowed clearly and unequivocally any constructions to the contrary during the
IPRs of two patents.” Ex. C at 47:4-6.

Because the NR in Basis is chemically synthesized, Plaintiffs should have
stipulated to non-infringement of claim 2 of both patents. Instead, they repackaged
their losing claim construction argument as a baseless infringement theory and
forced Elysium to devote additional resources to claims that never should have
been asserted in the first place. Plaintiffs now argue that the chemically-

synthesized NR in Basis is “isolated from a ... synthetic source and is not

chemically synthesized” because the NR product

a Ex. K at Ex.1, pp. 7-10, Ex.2, pp. 4-7. If Plaintiffs’ claim construction

position “border[ed] on frivolous,” its infringement position crosses the line.
In addition to alleging that Elysium’s manufacturing process yields NR
within the scope of claim 2 of both patents, Plaintiffs argue that a few lots of

See SF2-

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rr

In their supplemental infringement contentions, Plaintiffs assert that the NR

at Ex. 1, pp. 7-10 (emphasis added), Ex. 2, pp. 4-7 (emphasis added). This
contention is mentioned briefly in three paragraphs of Plaintiffs’ 135-paragraph
opening expert report on infringement. Ex. H at [9] 92-94. Neither Plaintiffs’

contentions nor their expert report explains how NR could be “isolated from a

natural source” and “not chemically synthesized” simply because

Argument

Assessing infringement is a 2-part inquiry: (1) construing the claims, and (2)
comparing the construed claims to the accused product. Akzo Nobel Coatings, Inc.
v. Dow Chem. Co., 811 F.3d 1334, 1338-39 (Fed. Cir. 2016). Summary judgment
of non-infringement is warranted when “after resolving all inferences in favor of
the patentee, [the] court... conclude[s] that no reasonable jury could find
infringement.” Jd. at 1341.

The basis for entering summary judgment of non-infringement here could

not be more straightforward. There is no material factual dispute about the steps

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used to manufacture the NR component of Basis, and no reasonable jury could find
that those steps produce NR that “is not chemically synthesized” (emphasis added)
as required by this Court’s claim construction. A jury could find only that the NR

in Basis is chemically synthesized and therefore is non-infringing.

There is no dispute that the NR used in Basis is chemically synthesized.

 . :<3 claim 1 of the ’807 patent, which covers all three

sources of NR, already requires that the NR be “isolated,” 1.e., “separated or
substantially free from at least some of the other components associated with the
source.” DJ. 152. If merely le
TE | ausing it to be “isolated” within the meaning of claim 1—means that
the NR is also “isolated from a synthetic source” and “not chemically synthesized,”
then NR that meets the limitations of claim 1 also meets the limitations of claim 2,
and the scope of the two claims is identical. See 35 U.S.C. § 112(d) (dependent

claims must further limit the subject matter claimed).

ee Elysium’s process is

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not chemical synthesis, then the exclusion of chemical synthesis from the scope of
the claim 2’s is meaningless.

The flaw in Plaintiffs’ argument is clear from the specification. As the
Court noted in its claim construction ruling, the specification recognizes that NR
can be obtained “from chemical synthesis described in the articles like
Tanimori....” Ex. C at 48:7-11. It is undisputed that Tanimori describes chemical
synthesis of NR as a multi-step process that begins with forming NR triacetate salt,
followed by replacing its acetate groups with hydrogen atoms to form NR salt,
which then undergoes clean-up steps to remove impurities and obtain the
synthesized NR product. SF2-04; SF2-05. Plaintiffs’ chemistry expert
acknowledged that “[t]he syntheses described in Tanimori... include sequences of
chemical reactions and purification steps....” Ex. I at 939. In short, to exemplify
the “chemically synthesized” NR it excluded from claim 2, Dartmouth described a
multi-step process that ends with purification steps, differentiating such “chemical
synthesis” of NR from NR isolated from a natural or synthetic source.

Plaintiffs should not be permitted to reargue claim construction in the guise
of a purported jury question on infringement. This Court has already rejected

Plaintiffs’ theory that the NR in Basis is “isolated from a synthetic source” within

the meaning of claim 2 merely because the process includes
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Tanimori. The Court found that Plaintiffs’ argument “borders on being frivolous.”
Ex. C at 50:14-18; see also id. at 36:11-20 (explaining Court’s reading of
specification that with chemical synthesis “you are creating a synthetic source, but

it’s anticipated that at the last step you’re going to have some isolation”’).

Finally, there is no merit to Plaintiffs’ argument no
aes... “isolated from a natural source” and

Plaintiffs’ expert admitted that he did not nv iii
es |:

SF2-09. The Court should enter summary judgment of noninfringement of claim 2

of both patents.

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CERTIFICATE OF COMPLIANCE
This brief complies with the type, font and word limitations set forth in this
Court’s Standing Order Regarding Briefing in All Cases, dated November 6, 2019.
This brief contains 1787 words (excluding the title page, table of contents, table of
authorities, signature block, and certificate of compliance). This brief has been
prepared in 14-point Times New Roman font.

Date: April 27, 2021

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CERTIFICATE OF SERVICE
I hereby certify that on the 27" day of April, 2021, the attached
ELYSIUM’S OPENING BRIEF IN SUPPORT OF ITS MOTION FOR
SUMMARY JUDGMENT (NO 2.) OF NON-INFRINGEMENT OF CLAIM 2
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